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 1      `KAZEROUNI LAW GROUP,                 LAW OFFICES OF TODD M.
        APC                                   FRIEDMAN, P.C.
 2      Abbas Kazerounian, Esq. (249203)      Todd M. Friedman, Esq. (216752)
 3      ak@kazlg.com                          tfriedman@toddflaw.com
        Matthew M. Loker, Esq. (279939)       Adrian R. Bacon, Esq. (280332)
 4      ml@kazlg.com                          abacon@toddflaw.com
 5      245 Fischer Avenue, Unit D1           21550 Oxnard Street, Suite 780
        Costa Mesa, CA 92626                  Woodland Hills, CA 90212
 6      Telephone: (800) 400-6808             Telephone: (877) 206-4741
 7      Facsimile: (800) 520-5523             Facsimile: (866) 633-0228

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                         UNITED STATES DISTRICT COURT
10                     SOUTHERN DISTRICT OF CALIFORNIA
11
        JOHN MCCURLEY AND DAN                 Case No.: 17-cv-986 BAS (AGS)
12      DEFOREST, INDIVIDUALLY
13      AND ON BEHALF OF ALL                  REPLY IN SUPPORT OF
        OTHERS SIMILARLY                      PLAINTIFFS’ MOTION TO
14      SITUATED,                             STRIKE WITNESS
15                                            DECLARATIONS, FOR
                    Plaintiffs,               RESTRAINING ORDER, FOR
16                     v.                     MONETARY SANCTIONS, AND
17                                            FOR DISQUALIFICATION OF
        ROYAL SEAS CRUISES, INC.,             COUNSEL
18
19                  Defendant.
                                              HON. CYNTHIA A BASHANT
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28      REPLY IN SUPPORT OF MOTION TO STRIKE WITNESS DECLARATIONS, FOR RESTRAINING

            ORDER, FOR MONETARY SANCTIONS, AND FOR DISQUALIFICATION OF COUNSEL
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 1                                              TABLE OF AUTHORITIES
 2     Cases
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 4       5574504 (D.N.J. Oct. 9, 2013) ...............................................................................5
 5     Dodona I, LLC v. Goldman, Sachs & Co., 300 F.R.D. 182 (S.D.N.Y 2014) ............6
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10     Kirola v. City & Cnty. of San Francisco, No. C07-03685 SBA, 2010 WL 3505041
11       (N.D. Cal. Sept. 7, 2010) ........................................................................................6
12     Moreno v. Autozone, Inc., No. C05-04432 MJJ, 2007 WL 4287517 (N.D. Cal.
13       Dec. 6, 2007) ..........................................................................................................7
14     O'Connor v. Uber Technologies, Inc., 2014 WL 1760314 (N.D. Cal. 2014)............6
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28         ORDER, FOR MONETARY SANCTIONS, AND FOR DISQUALIFICATION OF COUNSEL
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 1        I. INTRODUCTION
 2           The truth is important. It is important to litigants. It is important to attorneys.
 3     It is important to Courts and our system of justice. And the truth is that Defendant’s
 4     counsel have no remorse about their unethical actions, except for the fact that they
 5     got caught. The history, which is well laid out in the record, is clear on what
 6     transpired. Rather than seek discovery through proper channels over the thirteen
 7     months following class certification, Defendant’s counsel plotted to conduct secret
 8     misleading prejudicial discovery of represented parties with diametrically opposed
 9     interests and thereafter hid it until the last effective day of discovery.
10           Royal Seas refers to their conduct in other briefs as an “honest mistake.” See
11     Dkt. No. 155 Pg. 4. This was neither honest nor was it a mistake. Royal Seas
12     counsel (both inside counsel and outside counsel) devised a scheme whereby they
13     would draft a misleading script targeting represented Subclass members to call
14     about a “survey” and offer free cruise services if they would fill out those “surveys.”
15     These “surveys” were actually affidavits under penalty of perjury falsely attesting
16     to having visited www.diabeteshealth.info, which it then emailed to them via
17     docusign without telling them what the documents actually were, how Defendant
18     would be using them, or advising Class Counsel of these efforts. Defendant held
19     on to these pieces of “evidence” for over five months, until twelve hours prior to
20     the discovery cutoff (a Friday afternoon). Then when Class Counsel expressed
21     concern about what had transpired, Defendant’s attorney wrote the following:
              “it's unfortunate that you chose to write an email that is factually
22
             inaccurate… I did not "confirm that my client reached out to and
23           discussed this case with clients of [y]ours to secure these
             declarations". That's because it didn't happen…as you know, Royal
24
             Seas has many customers. Is your position now that you represent all
25           of them? Can you provide us with a list of every Royal Seas customer
26           that you claim to represent. That could help avoid this situation in the
             future. Are you taking the position now that Royal Seas cannot
27           communicate with its customers?
28                            REPLY IN SUPPORT OF MOTION TO STRIKE
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 1            Even if you think we did something wrong (we didn't), isn't the truth
              important? I also told you that neither my law firm nor my client
 2            did anything wrong. Your accusations are not based on fact.
 3            Separately, we'd like to confer with you on conducting discovery on
              class members so that the consent issues can be properly developed1
 4            and considered by the court.
 5     Dkt. No. 129-2 Ex E (emphasis added). These are not the words of counsel who
 6     made an “honest mistake” or who are concerned about the truth. They are words
 7     of defiance which were knowingly deceptive in an attempt to discourage further
 8     investigation by Plaintiffs.   The truth, as was uncovered subsequently at the
 9     deposition of Ms. Hanson, is that Defendant’s inside and outside counsel developed
10     and orchestrated the entire scheme to deceive Class Members and obtain tainted
11     and unreliable evidence through improper means. The Subclass was specifically
12     targeted by secret phone calls, and that those few who did sign only did so because
13     Royal Seas bribed and misled them. It can even be proven with objective evidence
14     that in one of the four affiant’s cases, she was deceived into testifying falsely, in a
15     manner that defense counsel has every reason to know is completely false.2
16           Meanwhile, Defendant has relied on the false and improperly obtained
17     “evidence” in numerous motions. See Dkt. Nos. 123, 124, 143, 152, 155, 156, 159,
18     165, 168. After forcing Plaintiffs to address these arguments in all of these briefs,
19     Defendant withdrew some of the “evidence” at the last minute, realizing they had
20     no other option, yet they then spend the majority of their brief attacking Class
21     Counsel for shining a light on their unethical conduct. Notably absent from
22     1
         At least Mr. Backman got this part correct. Conducting discovery pursuant to the
23     federal rules would have been the way to “properly develop” the record.
       2
24       Defendant is advancing demonstrably false testimony as a basis for its Motion to
       Decertify. Dkt. No. 143-7. Ms. Heckler signed the affidavit prepared by Defendant’s
25     attorneys that says she went to diabeteshealth.info in May 2016. The website,
26     however, was not even operational at the time and Royal Seas had yet to contract
       with Prospects DM until November 2016. This prepared affidavit clearly contains
27     false testimony, and shows how little regard Royal Seas counsel have for the truth.
28                            REPLY IN SUPPORT OF MOTION TO STRIKE
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 1     Defendant’s opposition is any evidence to support its positions regarding what
 2     occurred3 or any verified explanation from either Greenspoon Marder or Geoffrey
 3     Pette (outside and inside counsel implicated by Ms. Hanson’s testimony) as to what
 4     justification they believed they had legally to speak to represented parties in this
 5     manner or how such efforts could factually be chalked up as an “honest mistake.”
 6           There has never been a case where defense counsel intentionally contacted
 7     and deceived represented class members, and coerced false testimony from them in
 8     order to prejudice the entire class, not just the individuals who were contacted –
 9     until now. The evidence needs to be stricken from the record, and it is equally
10     necessary that Defense counsel should be sanctioned for forcing Class Counsel to
11     go through motion practice and discovery on these issues created by its unethical
12     conduct. But what is clear now is that disqualification is also absolutely necessary
13     to send a strong enough message to Defendant, its counsel, and litigants generally
14     that this type of conduct will not be tolerated in a civilized court of law. Anything
15     less would be a mere slap on the wrist that will embolden other bad actors to take
16     the risk of doing the same thing in the future, with the hopes that the gamble will
17     pay off. Defendant and its attorneys have not even indicated they would not
18     consider engaging in such unethical conduct in any future cases in an attempt to
19
       3
          In truth, Defendant’s Opposition is littered with unsupported falsehoods
20
       contradicted by the objective record. Defendant stated that it “promptly (and
21     voluntarily) produced information regarding its conduct [Dkt. 168 at p. 3], but this
22     is completely false as Defendant only produced any additional documents and
       information at the deposition of its 30(b)(6) in response to Plaintiffs’ timely notice
23     of deposition and document request on the discovery cut-off. Dkt. 129-2 at Exs. C
24     (notice of deposition) and F (Transcript of the Deposition of Melissa Hanson) at
       12:7-25. Defendant stated that Plaintiffs never suggested they would be seeking
25     disqualification during meet and confers [Dkt. 168 at fn. 6] and yet Plaintiffs’ very
26     first meet and confer email states in its first paragraph that Plaintiffs’ motion would
       be for “disqualification sanctions, against Defendant and its attorneys regarding their
27     illegal contact with represented parties.” Dkt. 129-2 at Ex. B.
28                            REPLY IN SUPPORT OF MOTION TO STRIKE
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 1     mislead individuals to create evidence. This case is even worse than Kleiner, and a
 2     harsh punishment is not only justified, it is morally necessary.
 3         II. LEGAL ARGUMENT
 4               A. The Cases Cited By Defendant Are Unpersuasive and Inapplicable
 5           Several principles of basic ethics cannot be reasonably disputed: 1) when a
 6     class is certified, class members are represented by class counsel; 2) counsel cannot
 7     communicate with known represented parties; 3) even where class members are not
 8     represented, any communications with absent class members by an adverse party
 9     must be informed and cannot be misleading or coercive. Defendant cannot and does
10     not dispute these principles. Instead, Defendant attempts to distinguish the facts of
11     this case and fit it within inapplicable case law.
12           Defendant did not undertake this deceptive “survey” campaign to uncover
13     the truth, but to manufacture a record of individualized issues of prior express
14     consent so it could attempt to decertify the Class. Its filed motions reflect this. See
15     Dkt. No. 143, 143-1,4 143-8, 143-12, 143-13, 152. If successful (which it won’t
16     be), this orchestrated sham would convert Defendant’s potential liability, which
17     approaches a billion dollars and tens of thousands of Class Members, into liability
18     for tens of thousands of dollars for just two named Plaintiffs. The Class Members
19     would be left with no recourse. This is not a noble goal whereby Defendant was
20     seeking the truth. It was a selfishly-motivated goal whereby Defendant was trying
21
22
       4
         “Royal has since developed evidence of individuals who purchased a travel
       package from Royal after going to www.diabeteshealth.info and entering their
23     telephone numbers requesting to be contacted about Royal. This is exactly what the
24     Court deemed “actual evidence” of consent. Id. at 54. Additionally, Royal has
       produced call recordings with 23 customers whose telephone numbers are associated
25     with diabeteshealth.info in the consent records produced by Royal. While Plaintiffs
26     have raised issues with the means Royal obtained this information – separate issues
       Royal will address directly in response to that motion (DE 129) 10 – the declarations
27     and recordings raise serious factual issues that simply cannot be ignored.”
28                            REPLY IN SUPPORT OF MOTION TO STRIKE
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 1     to manufacture evidence through deception and subterfuge to avoid the truth. With
 2     these points in mind, let us look at the facts of every single case cited by Defendant.
 3           Bobryk v. Durand Glass Mfg. Co., Inc., No. 12–5360(NLH)(JS), 2013 WL
 4     5574504 (D.N.J. Oct. 9, 2013) involved ex parte communications with putative
 5     class members before the class was certified. Further, the dicta from an unpublished
 6     case in a different circuit relied on by Defendant about the ethical duty not arising
 7     until after the opt out period has expired is splitting hairs, based on an interpretation
 8     of a different ethical rule, not the correct view on the ethical bar under Rule 23, and
 9     factually inapplicable because Defendant’s conduct in lying to class members under
10     false pretenses and financially incentivizing them to testify against their own
11     interests was extraordinarily deceptive and coercive. Moreover, defense counsel
12     does not advance any testimony or documentation suggesting that they even thought
13     of or relied on such an interpretation prior to engaging in such conduct.
14           Domingo v. New England Fish Co., 727 F.2d 1429 (9th Cir.), modified, 742
15     F.2d 520 (9th Cir. 1984) likewise involved precertification communications and
16     was merely a decision that looked at the fairness of an outdated and inapplicable
17     local rule that was being used to prevent plaintiffs counsel from talking to putative
18     class members (i.e. their own prospective clients who they were trying to help not
19     hurt). Guifu Li v. A Perfect Day Franchise, Inc., 270 F.R.D. 509, 518 (N.D. Cal.
20     2010) likewise related to pre-certification conduct. There was no indication that
21     counsel was involved in orchestrating a scheme to speak with represented parties,
22     or to mislead class members about their rights by inducing questionable detrimental
23     testimony under false pretenses. Nonetheless, the court issued an order to show
24     cause for Rule 11 violations and invalidated pre-certification opt out forms that
25     were obtained via coercion. Kirola v. City & Cnty. of San Francisco, No. C07-
26     03685 SBA, 2010 WL 3505041 (N.D. Cal. Sept. 7, 2010) has no application either.
27     Defendant sought leave to speak to represented class members about the litigation
28                            REPLY IN SUPPORT OF MOTION TO STRIKE
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 1     and the court denied the request. This would have been the more proper course for
 2     Royal Seas to attempt to take.
 3           Erhardt v. Prudential Grp., 629 F.2d 843 (2d Cir. 1980) involved an
 4     unapproved notice that was sent to class members by defendant’s CEO telling class
 5     members that if they lost the case they could owe fees and costs to the defendant.
 6     The district court ruled that the notice violated Rule 23, was misleading and held
 7     the CEO and company in contempt and issued sanctions. The CEO appealed the
 8     contempt order, not the remainder of the ruling which neither defendant nor its
 9     counsel appealed. The conduct was not nearly as egregious as in the case at bar.
10     Moreover, there was no request to disqualify the attorneys, nor were the attorneys
11     involved in the conduct. O'Connor v. Uber Technologies, Inc., 2014 WL 1760314
12     (N.D. Cal. 2014) has nothing to do with contact with class members. Uber rolled
13     out new terms and conditions for current drivers which contained a class action
14     waiver and arbitration clause. The court invalidated the waivers even though the
15     case was not certified, and the conduct was only marginally misleading in that it did
16     not advise drivers of a pending putative class action that they would be foreclosed
17     from participating in if they agreed to the terms. Even under these circumstances,
18     the court found the conduct deceptive and harmful to the putative class.
19           In Dodona I, LLC v. Goldman, Sachs & Co., 300 F.R.D. 182 (S.D.N.Y 2014),
20     the court found an investment bank’s communications with sophisticated investors
21     in a putative securities class action were not misleading because they did not
22     interfere with the administration of the action or abuse rights of class members. A
23     set of subpoenas were negotiated between the defendant and separate counsel for
24     the large sophisticated financial institution class members. Nothing misleading
25     occurred whatsoever.
26           Finally, it is unclear why Defendant decided to cite to Moreno v. Autozone,
27     Inc., No. C05-04432 MJJ, 2007 WL 4287517 (N.D. Cal. Dec. 6, 2007). The case
28                            REPLY IN SUPPORT OF MOTION TO STRIKE
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 1   involved a disqualification of counsel for something less egregious than what
 2   happened in the case at bar and supports Plaintiffs’ request. The court disqualified
 3   counsel after making the following observation:
 4         “the two most serious ethical breaches discussed above-an ongoing
 5         concurrent conflict of interest without written informed consent, and
           improper contact with represented parties, including putative class
 6         members-also tend to undermine the validity of these proceedings, and
 7         trigger this Court's inherent obligation to manage the conduct of
           attorneys who appear before it, to ensure the fair administration of
 8         justice, and to assure that the interests of unnamed class members are
 9         adequately protected.”
     In other words, because counsel interfered with the testimony of represented parties
10
     in a class action, he was disqualified. That is exactly what defense counsel did in
11
     the case at bar, except defense counsels’ conduct was much worse because they
12
     actively tried to mislead class members and obtain false testimony from them under
13
     false pretenses and via monetary inducement to manufacture a basis to decertify.
14
           None of the cases cited by Defendant persuasively counter the conclusions
15
     of Kleiner, which involved much less egregious conduct with respect to the severity
16
     of the deception.5 Again, it warrants pointing out what defense counsel tried to do
17
     here, as is obvious from their other filings, most notably from Dkt. No. 143, 143-1,
18
     143-8, 143-12, 143-13, 152. They were trying to manufacture evidence that they
19
     could use to decertify the class. To accomplish this, they lied to represented class
20
     members. They lied to them through affirmative misrepresentations and through
21
     intentional omissions. They drafted a misleading script and set of instructions and
22
     gave them to an employee of Royal Seas and told them to target a specific subset
23
     of the Subclass that they knew would be the most likely to respond to such
24
25   5
       Defendant makes an irrelevant point about the scope of ex parte communications
26   in Kleiner being broader. Who cares? Defense counsel was attempting to decertify
     the class via unethical and misleading methods of gathering evidence. Whether by
27   a single unethical communication or a thousand, such conduct is equally deplorable.
28                         REPLY IN SUPPORT OF MOTION TO STRIKE
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 1   communications. They lied to them by not telling them that they were members of
 2   a certified class. They lied to them by not telling them the true purpose of the call.
 3   They lied to them by telling them that they were emailing them a survey instead of
 4   truthfully telling them they were sending them a witness affidavit under penalty of
 5   perjury sent via docusign. They lied to them by not telling them they had counsel
 6   (Class Counsel). They lied to them by omitting the fact that they were calling them
 7   to procure evidence in a lawsuit in which the called consumers were absent parties.
 8   They lied to them by putting false testimony in the affidavits. They coerced them
 9   by telling them that they would give them free cruise-related services in exchange
10   for testimony.6 They lied to them by not telling them that they were calling at the
11   behest of their counsel, who represented a party whose legal interest was
12   diametrically opposed to their own. Then they lied to Class Counsel by withholding
13   the fact that they had undertaken these efforts until the day of the effective discovery
14   cutoff. If they had legitimate concerns, they could have conducted legitimate
15   discovery. They had a year to do so after the class was certified and did nothing.
16         Not a single case relied upon by Royal Seas persuasively advances any
17   conclusion other than that severe sanctions, including exclusion of the evidence,
18   monetary sanctions and disqualification, are necessary in this case.
19             B. Defendant’s Counsels’ Conduct was Egregiously Dishonest
20         The record of this case is clear and has been well established for quite some
21   time. Royal Seas hired Prospects DM in November 2016 to conduct a call campaign
22   on its behalf, which Prospects DM claims was done through a series of web
23   publishers. Dkt. No. 49-2 Ex A at 13:24-25 (Poole Depo); No. 51 Ex B (Royal Seas
24   contract with Prospects DM); No. 77-5 ROGG 3 (Rogg Answers); No. 143-10 at
25
     6
26    For instance, look at the transcript of the call with Mr. Geiger. He responded that
     he had no idea if he went to the website, but then after they offered him a free cruise,
27   he apparently decided to fill out the “survey.” Dkt. No. 143-8 Pg 44-45.
28                          REPLY IN SUPPORT OF MOTION TO STRIKE
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 1   Pg 26 (Grant Depo). One of these web publishers was Landfall Data, who we now
 2   know did not run the website www.diabeteshealth.info, but rather bought leads from
 3   a web publisher who claims to have run the website but who it had no idea where
 4   they really came from and flipped them. No. 77-7 (Brody Depo) 17:17-27:3, 36:4-
 5   37:5, 39:2-14, 40:19-41:1, 42:10-43:18, 49:7-52:10, 63:15-98:18, 106:7-108:22,
 6   173:11-176:8. Plaintiffs utilized Wayback Machine archives, among other tools, to
 7   prove that the leads could not have come from the website. Dkt. No. 78.
 8         Wayback Machine, and the record of this case, both tell us definitively for
 9   separate reasons, that the affidavit of Ms. Hetchler, the only remaining evidence of
10   consent proffered by Royal Seas and obtained through the same unethical
11   campaign, contains false testimony, which Ms. Hetchler likely had no reason to
12   know was false, but which Royal Seas Counsel had every reason to know was false
13   before their deceived and bribed her into signing under false pretenses.7 Declaration
14   of Adrian R. Bacon at ¶¶ 5-17 and Exs A-C. There are three obvious problems with
15   the testimony: 1) Royal Seas had not even contracted with Prospects DM as of May
16   2016; 2) the website did not have an opt in portal at that time (Bacon Decl. Ex A);
17   and 3) Royal Seas was not listed as one of the marketing partners on the site until
18   sometime after January 27, 2017 (Bacon Decl. Ex B, C). The obviously-bogus
19   testimony nonetheless is still being used to try and decertify the class.
20         Plaintiffs separately address the Rule 23 impact of this bogus evidence their
21   Opposition to the decertification motion. It warrants mention here because it shows
22   7
       Technically this does not meet the standard for suborning perjury, because Ms.
23   Hetchler likely had no reason to know she was even testifying to anything, much
24   less that it was false. But defense counsel knew that the affidavit they drafted and
     tricked her into signing was false, so in many ways, their conduct is even worse than
25   suborning perjury. If they had secured an affidavit from their own client using
26   superficial means it would not have satisfied the Rule 11 obligation. But as if that
     is not bad enough, they knowingly tricked someone into lying under oath so they
27   could advance a bogus defense for their client to try and decertify a class action.
28                          REPLY IN SUPPORT OF MOTION TO STRIKE
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 1   just how far astray defense counsel has gone with respect to their ethical duties, not
 2   only to not speak to represented parties, to mislead them, or mislead the Court and
 3   fail in their duty of diligence, but also with respect to their duty of candor. This
 4   testimony is demonstrably false. They are advancing bold faced provable lies,
 5   again, as they have done throughout this entire case. It is outrageous, and it proves
 6   that they have no regard for the truth whatsoever, and undermines the entire position
 7   of their Opposition brief. They were not trying to find the truth. They were trying
 8   to create a false narrative. It makes the misconduct even more egregious and worthy
 9   of the highest level of sanctions.
10        III.   CONCLUSION
11           Defendant and its counsel will do this again if they are not severely punished
12   for their egregiously-deceptive conduct. They’ve done it throughout this entire
13   case. They are still doing it, as evidenced by Ms. Hetchler’s affidavit. They have

14   no shame. Moreover, respectable defense and plaintiff counsel and the news are
     watching this case.8 If a strong message is not sent, it will incentivize bad behavior
15
     in the future. This Court should not allow Defendant to turn it into a three-ring
16
     circus. Monetary sanctions are not enough, because they will merely result in
17
     litigants performing a calculus whereby they weigh the risk of relatively small
18
     monetary sanctions against millions or billions of dollars in liability to their clients.
19
     The punishment should fit the crime, and strong discovery, monetary, and
20
     disqualification sanctions are necessary to deter this terrible conduct.
21
     Dated: April 13th, 2020           Law Offices of Todd M. Friedman, P.C.
22
23                                            By:_/s/ Todd M. Friedman____
                                                    Todd M. Friedman, Esq.
24                                                  Adrian R. Bacon, Esq.
25                                                  Attorneys for Plaintiffs

26
27   8
         Bacon Decl. ¶ 18, Ex E.
28                           REPLY IN SUPPORT OF MOTION TO STRIKE
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 1                            CERTIFICATE OF SERVICE

 2
     Filed electronically on this 13th day of April, 2020, with:
 3
 4   United States District Court CM/ECF system

 5   Notification sent electronically via the Court’s ECF system to:
 6
     Honorable Cynthia A Bashant
 7   United States District Court
 8   Southern District of California

 9   And All Counsel of Record As Recorded On The Electronic Service List.
10
11   This 13th day of April, 2020,
12
     s/Todd M. Friedman, Esq.
13   Todd M. Friedman
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